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Domestic Return Receipt

USPS TRACKING #

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United States
Postal Service

* Sender: Please print your name, address, and ZIP+4® in this box®

” clerk of Court

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Carl B. Stokes U.8. Court House
801 West Superior Avenus
Cleveland, Orio 44113

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